                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL
   No.             CV20-3220-JFW (AS)                                    Date    June 7, 2021
   Title           Joe Alfred Taylor v. Alex Villanueva, et. al.,



   Present: The Honorable          Alka Sagar, United States Magistrate Judge
                   Alma Felix                                                 Not reported
                  Deputy Clerk                                         Court Reporter / Recorder
             Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                       Not present                                         Not present
   Proceedings (In Chambers):                    ORDER TO SHOW CAUSE RE LACK OF
                                                 PROSECUTION


       On April 20, 2021, the Court issued an Order dismissing Plaintiff’s First Amended
Complaint with leave to amend. (Dkt. No. 38). Plaintiff was directed to file a Second Amended
Complaint within thirty days of the Court’s Order. Id., at 23. Plaintiff was “explicitly cautioned
that failure to timely file a Third Amended Complaint may result in a recommendation that this
action, or portions thereof, be dismissed with prejudice for failure to prosecute and/or failure to
comply with court orders. See Fed. R. Civ. P. 41(b).” Id., at 24. 1 On April 22, 2021, the Court
issued a Notice of Discrepancy and Order directing the affidavit submitted by Plaintiff not to be
filed in the current case because it concerned events that are not relevant to the claims raised by
Plaintiff in the First Amended Complaint. (Dkt. No. 39).

      To date, Plaintiff has failed to file a Second Amended Complaint. Accordingly, Plaintiff is
ORDERED TO SHOW CAUSE, in writing, no later than June 28, 2021, why this action
should not be dismissed with prejudice for failure to prosecute. This Order will be discharged
upon the filing of a Second Amended Complaint that complies with the Court’s April 20, 2021

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              The Court notes that this is the second Order to Show Cause issued by the Court in
this matter. On February 1, 2021, the Court issued an Order to Show Cause when Plaintiff – after
receiving several extensions of time to file a first amended complaint – failed to comply with the
Court’s Order. See Dkt. Nos. 32-34.



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Order or upon the filing of a declaration under penalty of perjury stating why Plaintiff is unable
to file a Second Amended Complaint. A copy of the Court’s Order, dated April 20, 2021 (Dkt.
No. 38), is attached for Plaintiff’s convenience.

       If Plaintiff no longer wishes to pursue this action, he may request a voluntary dismissal
pursuant to Federal Rule of Civil Procedure 41(a)(1). A notice of dismissal form is attached for
Plaintiff’s convenience. Plaintiff is warned that a failure to timely respond to this Order will
result in a recommendation that this action be dismissed with prejudice under Federal Rule of
Civil Procedure 41(b) for failure to prosecute and obey court orders.



         IT IS SO ORDERED.

cc:      John F. Walter, United States District Judge


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                                                   Initials of Preparer                AF




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